           Case 1:16-bk-10154                    Doc 1504 Filed 02/20/22 Entered 02/21/22 00:12:56                                                Desc
                                                Imaged Certificate of Notice Page 1 of 7
                                                              United States Bankruptcy Court
                                                                 District of Rhode Island
In re:                                                                                                                 Case No. 16-10154-DF
Microfibres, Inc.                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0103-1                                                  User: admin                                                                 Page 1 of 6
Date Rcvd: Feb 18, 2022                                               Form ID: 103                                                              Total Noticed: 79
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 20, 2022:
Recip ID                   Recipient Name and Address
db                     +   Microfibres, Inc., 1 Moshassuck Street, PO Box 1208, Pawtucket, RI 02862-1208
aty                    +   David H. Conaway, Shumaker, Loop & Kendrick LLP, 101 S. Tryon Street, Ste. 2200, Charlotte, NC 28280-0027
aty                    +   Edward Payne Atkinson, dba Atkinson Law Firm, 95 South Green Street, Suite C, Tupelo, MS 38804-4724
aty                    +   Joseph W. LaFramboise, Brenntag North America Inc., 5083 Pottsville Pike, Reading, PA 19605-9724
aty                    +   William F. Kirk, Hutchens Law Firm, 6230 Fairview Road, Ste. 315, Charlotte, NC 28210-3151
assignor               +   ASTRO AMERICAN CHEMICAL CO., PO BOX 878, FOUNTAIN INN, SC 29644-0878
assignor                   ASTRO CHEMICALS, INC., P.O. BOX 2248, SPRINGFIELD, MA 01102-2248
assignor               +   Allnex USA Inc., 9005 Westside Parkway, Alpharetta, GA 30009-4783
sp                         Anthony Van Der Hauwaert, King & Wood Mallesons LLP, 1 Square de Meeus, 1000 Brussels, BELGIUM
consult                +   Arnold R. Kaija, 377 First Avenue, East Greenwich, RI 02818-4059
op                         Atlus Global Trade Solutions, 2400 Veterans Blvd., Suite 300, Kenner, LA 70062
assignee                   B.E. Capital Management Fund LP, 228 Park Avenue S #63787, New York, NY 10003-1502
assignor               +   BATTERIES PLUS, 636D SOUTH STRATTFORD RD, WINSTON SALEM, NC 27103-1700
cr                         BE Capital Management Fund LP, 238 Park Ave S #63787, New York, NY 10003-1502
consult                +   Barry D. Flagg, Triangulum Financial Partners, 1301 W. Fletcher Avenue, Tampa, FL 33612-3310
sp                         Benedykt Fiutowski, Budzowska Fiutowski and Partners, ul. Sienna 11/131-041, Krakow, PL-Malopolska, POLAND
sp                     +   Brad Gandrup, Pierce Atwood LLP, 72 Pine Street 5th floor, Providence, RI 02903-2846
consult                +   Brendan P. VanDeventer, Riparian Partners LLC, One Financial Plaza, Providence, RI 02903-2448
cr                     +   Carolina Hoist and Crane, Inc., Sandra E. Teeters, President, PO Box 13860, Greensboro, NC 27415-3860
app                    +   Chip LaBonte, PO Box 235, 10 Eat Fire Spring Road, Nantucket, MA 02554-4214
assignor               +   Classic Business Systems, Inc., 2080 E. Fifth Street, Winston-Salem, NC 27101-4746
br                     +   Clay Short, TRI Inc., 600 Main Street, Tupelo, MS 38804-3733
sp                         Cosimo Borrelli, Level 17, Tower 1, Admiralty Centre, 18 Harcourt Road, Admiralty HONG KONG
acc                    +   Craig R. Jalbert, Verdolino & Lowey, P.C., 124 Washington Street, Foxborough, MA 02035-1368
acc                    +   Craig R. Jalbert, Verdolino & Lowey, P.C., 124 Washington Street, Foxboro, MA 02035-1368
cr                         Direct Energy Business Marketing, LLC, d/b/a Direct Energy Business, One Hess Plaza, Woodbridge, NJ 07095
assignor               +   EASTERN COLOR & CHEMICAL COMPANY, 35 LIVINGSTON STREET, PO BOX 6161, PROVIDENCE, RI 02940-6161
assignor                   Euro Textiles Denmark ApS, Denmark, Nordager 20, Nordager 20, Kolding, 06000, DENMARK
intp                   +   FLOKSER, Wieck DeLuca & Gemma, Inc., 56 Pine Street, Suite 700, Providence, RI 02903-2819
cr                     +   Frank W. Damiano, Three Oakland Drive, Port Washington, NY 11050-4125
sp                         G. Jacqueline Fangonil Walsh, Level 17, Tower 1,, Admiralty Centre, 18 Harcourt Road, Admiralty HONG KONG
cr                         GE Capital Information Technology Solutions, co A Ricoh USA Program, fdba IKON Financial Services, 1738 Bass Road, PO Box 13708
                           Macon, GA 31208-3708
consult                +   Getulio N. Sena, 112 Beechcrest Street, Warwick, RI 02888-3609
intp                   +   Hartford Underwriters Ins. Co., 88 Jefferson Blvd, Warwick, RI 02888-1029
intp                   +   Hope Billings McCulloch, 60 Manning Street, Providence, RI 02906-3132
assignor               +   Indev Gauging Systems, 5235 26TH AVE, ROCKORD, IL 61109-1707
sp                     +   Joseph A. Farside, Jr., Locke Lord LLP, 2800 Financial Plaza, Providence, RI 02903-2407
consult                +   LaVern Payne, 116 Havenwood Drive, Archdale, NC 27263-2638
assignor               +   Logisource Inc. Source Transport, PO Box 10200, Matthews, NC 28106-0220
assignor               +   Logisource, Inc., PO BOX 10200, MATTHEWS, NC 28106-0220
sp                     +   M. Christopher Bolen, Womble Carlyle Sandridge & Rice LLP, 2530 Meridian Parkway Suite 400, Research Triangle Park, Durham, NC
                           27713-5273
consult                +   Mary Ann Beirne, 5 Wake Robin Road, Unit #2105, Lincoln, RI 02865-5221
cr                     +   Mibrofibres Mexico Inc., c/o Hutchens Law Firm, Attn: William Walt Pettit, 6230 Fairview Road, Suite 315 Charlotte, NC 28210-3151
           Case 1:16-bk-10154                    Doc 1504 Filed 02/20/22 Entered 02/21/22 00:12:56                                               Desc
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app                    +   Michael Avent, Michael D. Avent & Assoicates Inc., 514 S. Stratford Road, Winston-Salem, NC 27103-1874
sp                     +   Michelle Waits, Waits Law PLLC, 95 South Green Street, Suite C, Tupelo, MS 38804-4724
op                     +   Northeast Data Destruction & Recycling, 73 Plymouth Street, Mansfield, MA 02048-2034
cr                     +   Olu Ademegan, 26 Carleton Street, Providence, RI 02908-4128
op                     +   Peregrine Property Management, LLC, Rumford Center, Bldg. #3, 20 Newman Avenue, Suite 1005, Rumford, RI 02916-3601
op                     +   Raleigh Asset Services, LLC dba CBRE/Triad Asset S, Attn: Lori Starnes, 101 Centreport Drive, Suite 160, Greensboro, NC 27409-9444
cr                     +   Raul Gonzlez, 270 Manton Avenue, Providence, RI 02909-3333
sp                     +   Ronald C. Markoff, Law Office of Ronald C. Markoff, 144 Medway Street, Providence, RI 02906-5202
cr                     +   Samir Doumato, 90 Oakland Avenue, Pawtucket, RI 02861-2023
sp                         Samuel P. Blatchley, Holbrook & Murphy, 238-240 Lewis Wharf, Boston, MA 02110-3927
assignor               +   Solvay USA Inc., 504 Carnegie Center, Princeton, NJ 08540-6241
consult                +   Stavros Trastelis, 1002 Browning Road, Greensboro, NC 27410-4751
consult                +   Steven Coffey, DBA Coffey Video Productions, 130 W. Acadia Avenue, Winston Salem, NC 27127-2916
consult                +   Susan Young, 3 Tunmore Road, Greenville, RI 02828-1932
intp                   +   Teknor Apex Company (Truex Incorporated), c/o David B. Graham, Esq., Kaufman & Canoles, P.C., 4801 Courthouse Street, Suite 300,
                           Williamsburg, VA 23188-2678
cr                     +   Texican Natural Gas Company, LLC, One Allen Center, 500 Dallas Street, Suite 1150, Attn: Robert Sellers Houston, TX 77002-4794
assignor               +   The Massey Company, Inc, 9006A Perimeter Woods Drive, Charlotte, NC 28216-2404
app                    +   Thomas Gagliardi, Thomas Industries, Inc., 2414 Boston Post Road, Guildford, CT 06437-2310
cr                     +   Val Debiec, 88 Jefferson Blvd, Warwick, RI 02888-1029
acc                    +   Verdolino & Lowey, P.C., 124 Washignton Street, Foxborough, MA 02035-1368
consult                +   Vertex Companies Inc., 400 Libbey Industrial Parkway, Weymouth, MA 02189-3134
consult                +   Vertex Companies as Environmental Management Servi, 400 Libbey Industrial Parkway, Weymouth, MA 02189-3134
cr                     +   Webster Bank, National Association, c/o Cameron & Mittleman LLP, 301 Promenade Street, Providence, RI 02908-5720
op                         William J. Piccerelli, Piccerelli, Gilstein & Co., l44 Westminster St, Providence, RI 02903
assignor               +   Worldwide Logistics Ltd, 25 E. Spring Valley Ave., Suite 205, Maywood, NJ 07607-2156

TOTAL: 68

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
aty                    + Email/Text: BKRMailOps@weltman.com
                                                                                        Feb 18 2022 18:10:00      Scott D Fink, Toyota Industries Commercial
                                                                                                                  Finance Inc, Weltman Weinberg & Reis Co., LPA,
                                                                                                                  Lakeside Place, Suite 200, 323 W. Lakeside
                                                                                                                  Avenue, Cleveland, OH 44113-1009
assignor               + Email/Text: kevin@aerisenviro.com
                                                                                        Feb 18 2022 18:10:00      AERIS Environmental, Inc., 1440 Blueberry Lane,
                                                                                                                  Charlotte, NC 28226-6525
assignor               + Email/Text: jlyda@yadtel.net
                                                                                        Feb 18 2022 18:10:00      COLORSOURCES, INC., 181 Golfview Drive,
                                                                                                                  Advance, NC 27006-9558
assignor                   Email/Text: sales@filtersales.com
                                                                                        Feb 18 2022 18:10:00      FILTER SALES & SERVICE, 15 ADAM
                                                                                                                  STREET, BURLINGTON, MA 01803-4916
op                     + Email/Text: tgallo@gallomoving.com
                                                                                        Feb 18 2022 18:10:00      Gallo Moving & Storage, 120 Quarry Drive,
                                                                                                                  Milford, MA 01757-1729
assignor               + Email/Text: rbelzinskas@mace.com
                                                                                        Feb 18 2022 18:10:00      Mace Security International, Inc., 4400 Carnegie
                                                                                                                  Avenue, Cleveland, OH 44103-4342
consult                + Email/Text: mnsub@kfda.com
                                                                                        Feb 18 2022 18:10:00      Michael Norek, The Firm of Kevin F. Donoghue
                                                                                                                  Insurance, 190 High Street, Boston, MA
                                                                                                                  02110-3031
intp                       Email/Text: ncdol.bankruptcy@labor.nc.gov
                                                                                        Feb 18 2022 18:10:00      North Carolina Department of Labor, 1101 mail
                                                                                                                  Service Center, Raleigh, NC 27699-1101
cr                     + Email/PDF: rmscedi@recoverycorp.com
                                                                                        Feb 18 2022 18:13:35      Recovery Management Systems Corporation On
                                                                                                                  Behalf, 25 SE 2nd Avenue, Suite 1120, Miami, FL
                                                                                                                  33131-1605
assignor               + Email/Text: accounts.receivable@uline.com
                                                                                        Feb 18 2022 18:10:00      Uline Shipping Supplies, 12575 Uline Drive,
                                                                                                                  Pleasant Prairie, WI 53158-3686
intp                   + Email/Text: dfas.cleveland-oh.hga.mbx.bankruptcy-notifications@mail.mil
                                                                                     Feb 18 2022 18:10:00         United States Environmental Protection Agency,
                                                                                                                  c/o Donald Frankel, US Department of Justice,
                                                                                                                  One Gateway Center, Suite 616, Newton, MA
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                                                                                                            02458-2802

TOTAL: 11


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
sp                            Anthony Van Der Hauwaert, Racine Access Building, Keizer Karellaan 586 Bus 9, Avenu Charles Quint 586, bte 9 B-102,
                              BURSSEL-BRUXELLES
consult                       David Morrison
consult         *+            AERIS Environmental, Inc., 1440 Blueberry Lane, Charlotte, NC 28226-6525
assignee        *             BE Capital Management Fund LP, 238 Park Ave S #63787, New York, NY 10003-1502
cr              *+            Mibrofibres Mexico, LLC, c/o Hutchens Law Firm, Attn: William Walt Pettit, 6230 Fairview Road, Suite 315, Charlotte, NC
                              28210-3151
consult         *+            The Vertex Companies Inc., 400 Libbey Industrial Parkway, Weymouth, MA 02189-3134
assignor        ##            Ayer Sales Inc, P.O. Box 6061, Brattleboro, VT 05302-6061
assignor        ##+           Monroe Staffing Services LLC, 35 Nutmeg Drive #250, Trumbull, CT 06611-5451
assignor        ##+           ORGANIC DYES AND PIGMENTS LLC, 65 VALLEY STREET, E. PROVIDENCE, RI 02914-4423
op              ##+           Vincent J. Granieri, Predictive Resources, LLC, 4865 Miami Road, Cincinnati, OH 45243-4039

TOTAL: 2 Undeliverable, 4 Duplicate, 4 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 20, 2022                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 18, 2022 at the address(es) listed
below:
Name                             Email Address
Alden C. Harrington
                                 on behalf of Interested Party James R. McCulloch harrington@rhf-lawri.com kristin@rhf-lawri.com;kristen@rhf-lawri.com

Amanda M. Perry
                                 on behalf of Trustee Joseph M. DiOrio amperry@dioriolaw.com jmpagano@dioriolaw.com

Amanda M. Perry
                                 on behalf of Plaintiff Joseph M. DiOrio amperry@dioriolaw.com jmpagano@dioriolaw.com

Armando Batastini
                                 on behalf of Creditor Grand Coast Captial Group LLC abatastini@nixonpeabody.com
                                 mryone@nixonpeabody.com;bos.managing.clerk@nixonpeabody.com;ddemartini@nixonpeabody.com

Armando Batastini
                                 on behalf of Interested Party Cram Holdings Group LLC abatastini@nixonpeabody.com,
                                 mryone@nixonpeabody.com;bos.managing.clerk@nixonpeabody.com;ddemartini@nixonpeabody.com

Armando Batastini
                                 on behalf of Interested Party James R. McCulloch abatastini@nixonpeabody.com
                                 mryone@nixonpeabody.com;bos.managing.clerk@nixonpeabody.com;ddemartini@nixonpeabody.com

Bruce W. Gladstone
                                 on behalf of Creditor Webster Bank National Association bgladstone@cm-law.com, cblessing@cm-law.com
            Case 1:16-bk-10154          Doc 1504 Filed 02/20/22 Entered 02/21/22 00:12:56                                          Desc
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Charles A. Pisaturo, Jr.
                           on behalf of Creditor Fabricut Inc. Charlie@pisaturolaw.com, adias@pisaturolaw.com

Charles A. Pisaturo, Jr.
                           on behalf of Defendant Fabricut Inc. Charlie@pisaturolaw.com, adias@pisaturolaw.com

Charles A. Pisaturo, Jr.
                           on behalf of Defendant Monroe Staffing Services LLC Charlie@pisaturolaw.com, adias@pisaturolaw.com

Donald G Frankel
                           on behalf of Interested Party United States Environmental Protection Agency DONALD.FRANKEL@USDOJ.GOV

Elizabeth A. Lonardo
                           on behalf of Interested Party Thomas Courtemanche elonardo@alftlaw.com

Elizabeth A. Lonardo
                           on behalf of Defendant Solvay USA Inc. elonardo@alftlaw.com

Elizabeth A. Lonardo
                           on behalf of Creditor Toyota Industries Commercial Finance Inc. elonardo@alftlaw.com

Evan P. Shanley
                           on behalf of Plaintiff Dawn Phillips eshanley@rilaborlaw.com

Evan P. Shanley
                           on behalf of Plaintiff Cedric Williams Class Representative eshanley@rilaborlaw.com

Evan P. Shanley
                           on behalf of Interested Party Cedric Williams eshanley@rilaborlaw.com

Gardner H. Palmer, Jr.
                           on behalf of Trustee Joseph M. DiOrio ghpalmer@dioriolaw.com cpalmer76@verizon.net

Gardner H. Palmer, Jr.
                           on behalf of Plaintiff Joseph M. DiOrio ghpalmer@dioriolaw.com cpalmer76@verizon.net

Gardner H. Palmer, Jr.
                           on behalf of Defendant Microfibres Inc. ghpalmer@dioriolaw.com cpalmer76@verizon.net

Gary L. Donahue
                           ustpregion01.pr.ecf@usdoj.gov

Gary L. Donahue
                           on behalf of Assistant U.S. Trustee Gary L. Donahue gary.l.donahue@usdoj.gov

Jeffrey H. Gladstone
                           on behalf of Defendant Lubrizol Advanced Materials Inc. jhg@psh.com amz@psh.com

Jeffrey J Lauderdale
                           on behalf of Defendant Lubrizol Advanced Materials Inc. jeffrey.lauderdale@lubrizol.com lisa.goodwin@lubrizol.com

Jeffrey K. Techentin
                           on behalf of Interested Party Hope Billings McCulloch jtechentin@apslaw.com lneville@apslaw.com

Jennifer V. Doran
                           on behalf of Debtor Microfibres Inc. jdoran@haslaw.com, calirm@haslaw.com;kabarrett@hinckleyallen.com

John F. Welsh
                           on behalf of Interested Party James R. McCulloch jwelsh@bellowelsh.com

Joseph M. DiOrio
                           on behalf of Creditor Fabricut Inc. jmdiorio@dioriolaw.com,
                           Legalassistant@dioriolaw.com,djdemartini@dioriolaw.com,amperry@dioriolaw.com,jmpagano@dioriolaw.com

Joseph M. DiOrio
                           on behalf of Plaintiff Joseph M. DiOrio jmdiorio@dioriolaw.com
                           Legalassistant@dioriolaw.com,djdemartini@dioriolaw.com,amperry@dioriolaw.com,jmpagano@dioriolaw.com

Joseph M. DiOrio
                           jmdiorio@dioriolaw.com
                           RI02@ecfcbis.com,ghpalmer@dioriolaw.com,legalassistant@dioriolaw.com,amperry@dioriolaw.com,jmpagano@dioriolaw.com,
                           ccardon@dioriolaw.com

Joseph M. DiOrio
                           on behalf of Trustee Joseph M. DiOrio jmdiorio@dioriolaw.com
                           RI02@ecfcbis.com,ghpalmer@dioriolaw.com,legalassistant@dioriolaw.com,amperry@dioriolaw.com,jmpagano@dioriolaw.com,
                           ccardon@dioriolaw.com

Kristen Forbes Cuddy
                           on behalf of Plaintiff Joseph M. DiOrio klforbes@dioriolaw.com

Kyle Zambarano
                           on behalf of Interested Party Hope Billings McCulloch kzambarano@apslaw.com
           Case 1:16-bk-10154          Doc 1504 Filed 02/20/22 Entered 02/21/22 00:12:56                                          Desc
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Date Rcvd: Feb 18, 2022                                    Form ID: 103                                                         Total Noticed: 79
Lauren E. Jones
                          on behalf of Interested Party James R. McCulloch ljones@appeallaw.com

Lawrence L. Goldberg
                          on behalf of Creditor Val Debiec mary@lg.necoxmail.com

Lawrence L. Goldberg
                          on behalf of Interested Party Hartford Underwriters Ins. Co. mary@lg.necoxmail.com

Leah L Miraldi
                          on behalf of Defendant Rothtec Engraving Corp. LMIRALDI@CM-LAW.COM ccappalli@cm-law.com

Lisa M. Kresge
                          on behalf of Defendant Texican Horizon Energy Marketing LLC lkresge@brcsm.com jlawson@brcsm.com

Lisa M. Kresge
                          on behalf of Creditor Direct Energy Business Marketing LLC lkresge@brcsm.com, jlawson@brcsm.com

Lisa M. Kresge
                          on behalf of Creditor Texican Natural Gas Company LLC lkresge@brcsm.com, jlawson@brcsm.com

Lynda L. Laing
                          on behalf of Defendant The Cotton Bolt Inc. d/b/a Magnolia Custom Furniture lynn@straussfactor.com, straussfactorlaw@cs.com

Lynda L. Laing
                          on behalf of Defendant Allnex USA Inc. lynn@straussfactor.com straussfactorlaw@cs.com

M. Vance McCrary
                          on behalf of Plaintiff Cedric Williams Class Representative vmccrary@thegardnerfirm.com

M. Vance McCrary
                          on behalf of Plaintiff Dawn Phillips vmccrary@thegardnerfirm.com

Marc B Gursky
                          on behalf of Plaintiff Dawn Phillips mgursky@rilaborlaw.com

Martha J. Zackin
                          on behalf of Interested Party James R. McCulloch mzackin@bellowelsh.com kscotina@bellowelsh.com

Mary E. Olsen
                          on behalf of Creditor Cedric Williams Class Representative molsen@thegardnerfirm.com, apage@thegardnerfirm.com

Mary E. Olsen
                          on behalf of Interested Party Cedric Williams molsen@thegardnerfirm.com apage@thegardnerfirm.com

Mary E. Olsen
                          on behalf of Creditor Dawn Phillips molsen@thegardnerfirm.com apage@thegardnerfirm.com

Mary E. Olsen
                          on behalf of Plaintiff Dawn Phillips molsen@thegardnerfirm.com apage@thegardnerfirm.com

Mary E. Olsen
                          on behalf of Plaintiff Cedric Williams Class Representative molsen@thegardnerfirm.com, apage@thegardnerfirm.com

Mary E. Olsen
                          on behalf of Creditor Harold Williams molsen@thegardnerfirm.com apage@thegardnerfirm.com

Matthew J. McGowan
                          on behalf of Interested Party SK Cheung mmcgowan@smsllaw.com acarlow@smsllaw.com

Michael J. Daly
                          on behalf of Interested Party Cram Holdings Group LLC mdaly@pierceatwood.com,
                          ledelman@pierceatwood.com;mgosetti@pierceatwood.com;mjosgood@pierceatwood.com

Michael J. Polak
                          on behalf of Defendant Greenhouse Fabrics Inc. mpolak@brcsm.com, jlawson@brcsm.com;lormonde@brcsm.com

Michael J. Polak
                          on behalf of Defendant Colonial LLC mpolak@brcsm.com jlawson@brcsm.com;lormonde@brcsm.com

Paul F. O'Donnell, III
                          on behalf of Debtor Microfibres Inc. podonnell@hinckleyallen.com, kabarrett@hinckleyallen.com

Richard L. Gemma
                          on behalf of Interested Party FLOKSER rgemma@wdglaw.com mgomes@wdglaw.com

Richard L. Gemma
                          on behalf of Interested Party Tukek Holding Anonim Sirketi rgemma@wdglaw.com mgomes@wdglaw.com

Sandra Nicholls
                          on behalf of Assistant U.S. Trustee Gary L. Donahue sandra.nicholls@usdoj.gov

Sharon E Collins-Abbott
           Case 1:16-bk-10154          Doc 1504 Filed 02/20/22 Entered 02/21/22 00:12:56                                         Desc
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                          on behalf of Defendant Metlife Insurance Company scollinsabbo@metlife.com relder1@metlife.com

Steven J. Boyajian
                          on behalf of Defendant Dimerco Express (U.S.A.) Corp. sboyajian@rc.com bvucci@rc.com

Theodore Orson
                          on behalf of Accountant Verdolino & Lowey P.C. torson@orsonandbrusini.com, tpecchia@orsonandbrusini.com

Thomas S. Hemmendinger
                          on behalf of Interested Party Teknor Apex Company (Truex Incorporated) themmendinger@brcsm.com lkresge@brcsm.com

William Walt Pettit
                          on behalf of Creditor Mibrofibres Mexico Inc. walt.pettit@hutchenslawfirm.com tracy.vines@hutchenslawfirm.com

William Walt Pettit
                          on behalf of Creditor Mibrofibres Mexico LLC walt.pettit@hutchenslawfirm.com, tracy.vines@hutchenslawfirm.com


TOTAL: 66
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                                               UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF RHODE ISLAND

_____________________________________________________________________________________________________________________
            In Re: Microfibres, Inc.                      BK No. 1:16−bk−10154
               Debtor(s)                                 Chapter 7

_____________________________________________________________________________________________________________________
                               ORDER GRANTING (doc# 1501 ) TO EMPLOY PROFESSIONALS
                Re: Amended Application to Employ Craig R. Jalbert and Verdolino & Lowey, P.C. as Accountants to the
                                                        Chapter 7 Trustee
            The Application to Employ Professionals (doc.# 1501 ) is HEREBY APPROVED, subject to the following: (1)
            This order is not a determination that the services are necessary; and (2) No fee agreement between the applicant
            and the person or entity being employed is binding on the court.

            With the exception of applications to employ filed pursuant to 2014(e), any agreement for compensation between
            the Professional seeking employment and the Trustee, if applicable, shall not be binding on the Court, and to the
            extent that anything contained in the application deemed a request to pre−approve compensation is DENIED.
            Compensation of Professionals will be determined by the Court upon the filing of an appropriate fee application.


                                                         So Ordered:




                                                         Date: 2/18/22
              Entered on Docket: 2/18/22
              Document Number: 1503 − 1501
            Oappemployprof.jsp #103




            ______________________________________________________________________________________________
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